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     IT IS ORDERED as set forth below:



     Date: January 3, 2020

                                                                 _____________________________________
                                                                            Lisa Ritchey Craig
                                                                       U.S. Bankruptcy Court Judge

  _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                 )        CHAPTER 11
                                       )
STEVEN JAY STRELZIK,                   )        CASE NO. 18-57431 – LRC
                                       )
                  Debtor.              )
______________________________________________________________________________

STEVEN JAY STRELZIK,                            )
                                                )
                     Movant,                    )
                                                )
v.                                              )          CONTESTED MATTER
                                                )
U.S. BANK, NATIONAL ASSOCIATION,                )
                                                )
                      Respondents               )

                  ORDER AND NOTICE OF EVIDENTIARY HEARING

        NOTICE IS HEREBY GIVEN that an evidentiary hearing on confirmation of Debtor’s plan

(the “Plan”) will be held on February 11, 2020, at 9:30 a.m., in Courtroom 1204, U.S. Courthouse

and Richard B. Russell Federal Building, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.
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        IT IS ORDERED that, on or before January 17, 2020, each party shall file a statement

outlining the legal issues and describing the questions of fact to be decided;

        IT IS FURTHER ORDERED that any party who will rely on exhibits, on or before

January 27, 2020, shall: (1) prepare and deliver to Christy Lee, Courtroom Deputy Clerk, Chambers

1290, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, an original and two copies of an exhibit

list and exhibits (indexed, marked and tabbed in a binder); and (2) provide a copy set of the exhibit

list and exhibits to the opposing party, and any other party objecting to the Plan;

        IT IS FURTHER ORDERED that any party who will call witnesses is to prepare a witness

list. On or before January 27, 2020, the witness list is to be: (1) delivered to Christy Lee, Courtroom

Deputy Clerk, Chambers 1290, 75 Ted Turner Drive, S. W., Atlanta, Georgia 30303; and (2) the

witness list is to be exchanged with all parties. The witness list should reflect a separate listing for

each of the witnesses, to include their addresses, whom that party will or may have present at the

evidentiary hearing, including impeachment and rebuttal witnesses whose use can or should have

been reasonably anticipated. A representation that a witness will be called may be relied upon by

other parties unless notice is given by January 31, 2020, prior to the evidentiary hearing to permit

other parties to subpoena the witness or obtain his testimony by other means.           Witnesses not

included on the witness list will not be permitted to testify.

        IT IS FURTHER ORDERED that any additional Stipulations of Facts should be presented

 to Chambers 1290 by January 27, 2020; and

        IT IS FURTHER ORDERED that the Parties shall promptly notify the Courtroom Deputy

 Clerk if the dispute is settled prior to the hearing.
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      The Clerk is DIRECTED to serve this Order and Notice on the Debtor, Debtor’s Counsel,

Counsel for U.S. Bank, N.A., the United States Trustee and All Parties listed on the Mailing Matrix.

                                    [END OF DOCUMENT]
